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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X

LAVERNE LEONARD,

                                   Appellant,                              20-cv-1518 (LJL)
                                                                           20-cv-1558 (LJL)
                          -v-                                              20-cv-6811 (LJL)
                                                                           20-cv-6806 (LJL)

                                                                              ORDER
HSBC Bank, USA, NA, et al.

                                   Appellees.

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LEWIS J. LIMAN, United States District Judge:

         WHEREAS, on August 5, 2020, Wells Fargo Bank, N.A. as servicing agent for HSBC

Bank USA, National Association as Trustee for Nomura Asset AcceptanceCorporation, Mortgage

Pass-Through Certificates, Series 2007-1 ("Appellee") filed a motion pursuant to Bankruptcy

Rule 8003 (b)(2) and Fed. R. Civ. P. 42(a) to consolidate the appeals under Nos. 20 cv-1518 and

20-cv-1558;

         WHEREAS, on October 22, 2020 a hearing was held at which Appellee orally amended

the motion to include appeals under Nos. 20 cv-1518, 20-cv-1558, 20-cv-6811, and 20-cv-6806;

         IT IS HEREBY ORDERED, that the appeals under Nos. 20 cv-1518, 20-cv-1558, 20-cv-

6811, and 20-cv-6806 are consolidated under case number 20-cv-1518.

SO ORDERED

            11/9/2020
Dated:                                                           __________________________________
         New York, New York                                           LEWIS J. LIMAN
                                                                     United States District Judge



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